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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofIndiana
                                                                        __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                                                                  )                 2:21-mj-26
                     Shane M. Meehan                              )
                                                                  )
                                                                  )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     07/07/2021                in the county of                 Vigo          in the
     Southern          District of            Indiana         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 1114                                Premeditated Murder of a Federal Agent




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Matthew Cook
                                                                                             Complainant’s signature

                                                                                    Matthew Cook, Special Agent/FBI
                                                                                              Printed name and title

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   WHOHSKRQLFFRPPXQLFDWLRQ  UHOLDEOHHOHFWURQLFPHDQV

Date:             07/08/2021
                                                                                                Judge’s signature

City and state:                         Indianapolis, IN                        Hon. Doris L. Pryor, U.S. Magistrate Judge
                                                                                              Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Special Agent Matthew Cook, do declare and state as follows:

                               Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been so employed since March 2010. Previous to that, I was a practicing attorney in the Kansas

City, Missouri area. I am a “federal law enforcement officer” within the meaning of Federal

Rules of Criminal Procedure 41(a) and 41(a)(2)(C). During the course of my career with the

FBI, I have participated in numerous criminal investigations in the FBI Indianapolis Division. I

have worked cases involving national security counterintelligence crimes, gangs, narcotics, and

violent criminal acts. In addition, I have conducted and participated in surveillance, the

execution of search warrants, debriefings of informants, reviews of recorded conversations,

analyses of phone records, and numerous other investigative activities throughout the course of

my FBI career.

       2.      The following information is based on my personal knowledge, training, and

experience, as well as information provided to me by other law enforcement personnel. Because

this affidavit is being submitted for the limited purpose of securing a criminal complaint and

arrest warrant charging SHANE MEEHAN, DOB: XX-XX-1976 (known to me but redacted),

SSN: XXX-XX-2089 (known to me but redacted) (“MEEHAN”), with Premediated Murder of a

Federal Officer, in violation of 18 U.S.C. § 1114, it does not purport to set forth all of my

knowledge about this matter.

                                         Probable Cause

       3.      The FBI maintains a resident agency in the city of Terre Haute, within the Southern

District of Indiana (the “Terre Haute RA”).
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       4.     Terre Haute Police Department Detective Gregory J. Ferency has been employed

as an FBI Task Force Officer since 2010.

       5.     On July 7, 2021, Detective Ferency was on duty and working as an FBI Task Force

Officer (“TFO”) at the Terre Haute RA.

       6.     In the afternoon hours of July 7, 2021, MEEHAN was driving a tan 2003 Ford F-

150 pickup truck and repeatedly drove in the vicinity of the Terre Haute RA.

       7.     At approximately 2:03 p.m. on July 7, 2021, MEEHAN pulled next to the gate at

the secured entrance of the parking lot of the Terre Haute RA.

       8.     MEEHAN got out of his truck, moved in preparation around his vehicle, and lobbed

an incendiary device (a Molotov Cocktail) toward the Terre Haute RA building.

       9.     Shortly after MEEHAN threw the incendiary device, TFO Ferency walked out of

the Terre Haute RA building.

       10.    MEEHAN, who was holding a firearm in his right hand, raised the firearm towards

TFO Ferency and shot him.

       11.    Although TFO Ferency returned fire, he later died as a result of the injuries he

suffered when he was shot by MEEHAN.

       12.    Shortly after MEEHAN shot TFO Ferency, FBI Special Agent Ryan Lindgren ran

out of the Terre Haute RA building and engaged MEEHAN in a gun battle.

       13.    MEEHAN was shot two times, by either TFO Ferency or SA Lindgren. Despite

being shot, MEEHAN got into his truck and fled from the Terre Haute RA building.

       14.    Law enforcement subsequently located MEEHAN at Vigo County Regional

Hospital in Terre Haute, Indiana, where MEEHAN underwent surgery for his gunshot wounds.
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       15.    Law enforcement applied for and received a federal search warrant authorized by

the Hon. Doris L. Pryor, United States Magistrate Judge, for MEEHAN’s Ford F-150.

       16.    A search of MEEHAN’s truck revealed a Smith & Wesson M&P 45 semi-automatic

handgun (Serial Number: HUK6311). The Smith & Wesson M&P 45 was loaded with 1 round in

the chamber. Two additional rounds of .45 caliber ammunition were found in the front seat area

of the Ford F-150. Also found inside the Ford F-150 were 3 Molotov Cocktails, 2 empty boxes of

.45 caliber Hornaday Critical Duty Ammunition, and an additional handgun magazine.

                                          Conclusion

       17.    Based on the foregoing, there is probable cause to believe that MEEHAN

committed the above-described violation of 18 U.S.C. § 1114. I, therefore, respectfully request

that the Court issue a criminal complaint and arrest warrant for MEEHAN charging him with

violating 18 U.S.C. § 1114.

FURTHER YOUR AFFIANT SAYETH NAUGHT.




                                            /s/ Special Agent Matthew Cook
                                            Special Agent Matthew Cook
                                            Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone.


DATE: July 8, 2021
